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   Ness York and Ness Jcrses Bars
   Ftor,da Bar
                                                                     WEBSITE                              Porter E. )lartmais (1920-2009)
                                                                                                          Charles R. Bulsrman (1938-1994)
o Washington. D C. Bar
sD Ness Jcrscs Bar
                                                           www.Iiartrnanwinnick.i.coiii                   William T. Marsden (1943-1993)
                                                                                                          Cyrus D. SanaiLel son (1911-1998)



                                                                               October 24, 2022

            VIAECF
            The Honorable Peter G. Sheridan
            U.S. District Court for the District of New Jersey
            Clarkson S. Fisher Building & U.S. Courthouse
            402 East State Street
            Room 2020
                                                                                SO        ERED:J?-_i
            Trenton, NJ 08608                                                                 ( (7   f4
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                            Re:          Association of New Jersey Rifle & Pistol Clubs, Inc., et at. v. Matthew
                                         Platkin, et al.
                                         Civil Action No.: 18-cv-10507

            Dear Judge Sheridan:

                            We represent Plaintiffs in the above referenced matter.

                   On September 21, 2022, the Court entered a scheduling order which provided the
            following dates:

                                    1.      Plaintiffs will amend the Complaint by October 7, 2022;
                                    2.      Defendants will file an Answer or othervise respond by October 28, 2022;
                                    3.      Defendants will submit a proposed schedule for development of evidence by
                                            October 28, 2022; and
                                    4.      A status conference will be conducted via telephone on November 7, 2022 at
                                            3:00 p.m. to determine the reasonableness of the States schedule to develop
                                            evidence.

                   We write to request that the Court amend that order for two reasons. First, my mother
           was recently admitted t
           of that same tii
                                         ice care an t ie
                              rnve been ill, myself.
                                                                          .
                                                                on October 6, 2022. Second. during much


               _  Much of the time frame orginafly afluthd oi he piaintiiTs to arnena         Complaint was
        ,,4ent addressing my mother’s Hospice care, her subsequent passing. and my o                     ess.
     /    Accordingly, plaintiffs respectfully request that the Court adjust each of the foregoing deadlin
          by three weeks. Thus, plaintiffs would amend by October 28. 2022. Defendants would Answer or
7         otherwise respond and submit their proposed schedule for the development of evidence by
          November 1 8. 2022, And the Court would thereafter schedule a status conference regarding
          Defendants’ proposed schedule.
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   October 24, 2022
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          All counsel have consented to this request.

                                                        Respectfully submitted.


                                                         s/ Daniel L. Schrnutter
                                                        DANIEL L. SCHM UTTER
   DL S/ar
   cc:     Stuart M. Feinblatt, Esq.
           Kathleen N. Fennelly, Esq.
